Case 3:15-cv-04108-L-BN   Document 59   Filed 07/12/16   Page 1 of 26   PageID 784
                                                                                     1



      1                    IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
      2                              DALLAS DIVISION

      3

      4    SAMSUNG ELECTRONICS AMERICA, §
           INC.,                        §
      5                                 §
                Plaintiff,              §
      6                                 §
           VS.                          §
      7                                 §            CASE NO. 3:15-CV-04108-D
           YANG KUN "MICHAEL" CHUNG,    §
      8    THOMAS PORCARELLO,           §
           YOON-CHUL "ALEX" JANG,       §
      9    JIN-YOUNG SONG,              §
           ALL PRO DISTRIBUTING, INC.,  §
     10                                 §
                Defendants.             §
     11

     12    =============================================================

     13                        TELEPHONIC STATUS CONFERENCE

     14
                                         JULY 5, 2016
     15

     16                                 VOLUME I OF I

     17    =============================================================

     18          On the 5th day of July, 2016, a Telephonic Status

     19    Conference in the above-entitled and numbered cause came on to

     20    be heard before the Honorable Sidney A. Fitzwater, United

     21    States District Judge for the Northern District of Texas,

     22    presiding.

     23

     24
           Proceedings reported by mechanical stenography; transcript
     25    produced by computer.


                                    Stacy Mayes Morrison
                                  Official Court Reporter
Case 3:15-cv-04108-L-BN   Document 59   FiledIndex
                                              07/12/16   Page 2 of 26   PageID 785
                                                                                          2

      1                            VOLUME I (PAGES 1 - 26)

      2

      3                          PROCEEDINGS FOR JULY 5, 2016

      4                                                                          PAGE

      5   CAPTION............................................................        1

      6   INDEX..............................................................        2

      7   APPEARANCES........................................................        3

      8   TELEPHONIC STATUS CONFERENCE.......................................        5

      9   ROLL CALLED........................................................        5

     10   COURT'S INTRODUCTION...............................................        7

     11   MR. MOSCOWITZ'S ARGUMENT...........................................        8

     12   MR. LOWENSTEIN'S ARGUMENT..........................................        15

     13   COURT'S OBSERVATIONS...............................................        19

     14   MR. MOSCOWITZ'S RESPONSE...........................................        21

     15   MR. LOWENSTEIN'S RESPONSE..........................................        21

     16   MR. ANSLEY'S RESPONSE..............................................        22

     17   COURT'S RULING.....................................................        22

     18   MS. KELLOW'S ARGUMENT..............................................        23

     19   MR. CHOE'S COMMENT.................................................        25

     20   REPORTER'S CERTIFICATE.............................................        26

     21

     22

     23

     24

     25


                                   Stacy Mayes Morrison
                                 Official Court Reporter
Case 3:15-cv-04108-L-BN   Document 59    Appearances
                                        Filed 07/12/16 Page 3 of 26   PageID 786
                                                                                   3



      1                   A-P-P-E-A-R-A-N-C-E-S (VIA TELEPHONE)

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Case 3:15-cv-04108-L-BN   Document 59    Appearances
                                        Filed 07/12/16 Page 4 of 26   PageID 787
                                                                                   4



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     12                                        205 E. 5th, LB #F13263
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Case 3:15-cv-04108-L-BN Telephonic
                         Document 59 Status   Conference
                                       Filed 07/12/16    (7/5/2016)
                                                      Page 5 of 26 PageID 788
                                                                                5



      1                      TELEPHONIC STATUS CONFERENCE

      2                                JULY 5, 2016

      3         (The following took place in chambers with all

      4   below-named parties present via telephone.)

      5               THE COURT:   It's 5:15.    This is Judge Fitzwater.

      6   The Court at this time is conducting a Telephonic Status

      7   Conference on the Motion to Compel of All Pro Distributing

      8   that was filed on May 24, 2016.

      9               I'm going to begin by calling the roll of the

    10    attorneys who have indicated that they wish to participate in

    11    the conference, and then I'm going to give some housekeeping

    12    instructions that will help the court reporter.

    13                Is Mr. Moscowitz on the line?

    14                MR. MOSCOWITZ:    Yes, Your Honor.

    15                THE COURT:   Ms. Walters?

    16                MS. WALTERS:    Yes, Your Honor.

    17                THE COURT:   Mr. Mitilian?

    18          (No response.)

    19                MR. MOSCOWITZ:    Your Honor, this is Barry Moscowitz.

    20    I don't believe Mr. Mitilian is going to attend.         I know he

    21    indicated he initially was going to, but I don't think he is

    22    any longer.

    23                MR. MITILIAN:    Actually, Barry, this is --

    24                MR. MOSCOWITZ:    Oh.

    25                MR. MITILIAN:    -- Armen Mitilian on behalf of All


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Case 3:15-cv-04108-L-BN Telephonic
                         Document 59 Status   Conference
                                       Filed 07/12/16    (7/5/2016)
                                                      Page 6 of 26 PageID 789
                                                                                6



      1   Pro, and I am on the line.      I just dialed in.

      2               MR. MOSCOWITZ:    Okay.    Thank you.

      3               THE COURT:    Mr. Ansley?

      4               MR. ANSLEY:    Yes, Your Honor.

      5               THE COURT:    Mr. Lowenstein?

      6               MR. LOWENSTEIN:    Yes, Your Honor.

      7               THE COURT:    Mr. Riemer?

      8               MR. RIEMER:    Yes, Your Honor.

      9               THE COURT:    Mr. Kelminson?

    10                MR. KELMINSON:    Yes, Your Honor.

    11                THE COURT:    Mr. DeVoss?

    12                MS. WALTERS:    Your Honor, this is Rachael Walters.

    13    Mr. DeVoss just sent me an e-mail stating that he would not

    14    participate in the hearing based on your statement that only

    15    the parties who need to participate are those involved in the

    16    Motion to Compel.

    17                THE COURT:    Thank you.    Mr. Choe?

    18                MR. CHOE:    Yes, Your Honor.

    19                THE COURT:    Ms. Kellow?

    20                MS. KELLOW:    Yes, Your Honor.

    21                THE COURT:    Mr. Chung?

    22                MR. CHUNG:    Yes, Your Honor.

    23                THE COURT:    The court reporter will be assisted in

    24    making her record if Counsel will identify themselves before

    25    they speak.


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Case 3:15-cv-04108-L-BN Telephonic
                         Document 59 Status   Conference
                                       Filed 07/12/16    (7/5/2016)
                                                      Page 7 of 26 PageID 790
                                                                                7



      1               If we get down to the point where it's largely two

      2   attorneys addressing the Court, then you won't need to do that

      3   anymore because she can differentiate between you, but until

      4   that's clear, I'll ask that you identify yourself so that the

      5   record will be accurate.

      6               Let me begin by stating that the purpose of this

      7   status conference is to attempt to resolve, to the extent

      8   possible, the Motion to Compel.       Since the Amended Rules of

      9   Civil Procedure were adopted on December 1, courts have been

    10    attempting to reduce delay and expense involved with

    11    litigation, particularly in the area of discovery, where

    12    possible.     There are instances where this cannot be done, and

    13    the Court needs to refer the motion to the Magistrate Judge.

    14    There are instances where a hearing or fuller briefing is

    15    required, but in those instances where it appears possible to

    16    the Court that some form of prompt conference and working with

    17    Counsel will enable the Court to resolve a discovery dispute,

    18    it's going to endeavor to do that.

    19                And so, in this case, after reviewing the Motion to

    20    Compel and the short letter response that I permitted to the

    21    motion, I thought it possible that, by conducting this sort of

    22    informal telephonic conference, it would be possible to get

    23    this matter resolved, reducing the expenses to the parties and

    24    getting on with the litigation.       So that is by way of

    25    background.


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Case 3:15-cv-04108-L-BN Telephonic
                         Document 59 Status   Conference
                                       Filed 07/12/16    (7/5/2016)
                                                      Page 8 of 26 PageID 791
                                                                                8



      1               Because the last update that I have under my

      2   protocol is for Mr. Ansley, I'm going to begin by calling on

      3   Mr. Moscowitz to advise the Court of where he sees this matter

      4   standing, and then we'll -- the Court will hear from Counsel

      5   further.

      6               So, Mr. Moscowitz, you may proceed if you like.

      7               MR. MOSCOWITZ:    Thank you, Your Honor.     And we

      8   certainly appreciate you conducting this status conference and

      9   are hopeful that, at the conclusion of the status conference,

    10    we may be on a path towards resolution as to -- as opposed to

    11    a more expensive and time-consuming alternative through an

    12    actual hearing and perhaps some additional briefing.

    13                And here's where we see it, and I'd like to start

    14    with sort of the big picture, and then we can drill down as

    15    the Court requires.     Our primary focus is in -- and what we

    16    relied upon in the Motion to Compel has to -- is on the Heller

    17    case.   And I think in part what Heller stood for was the

    18    parties aren't supposed to play games anymore with discovery.

    19                And, unfortunately, it is our belief that, even

    20    though Samsung has amended some of their responses and they

    21    have produced some additional documents from when we filed our

    22    Motion to Compel, we still are lacking the fundamental answers

    23    that require -- that we believe Samsung is required to provide

    24    and the fundamental documents that we also believe they're

    25    required to provide.     For example, we have asked in many of


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Case 3:15-cv-04108-L-BN Telephonic
                         Document 59 Status   Conference
                                       Filed 07/12/16    (7/5/2016)
                                                      Page 9 of 26 PageID 792
                                                                                9



      1   our requests for production that we be given the documents

      2   that support the various claims that they have made.          To date,

      3   we have no documents, none, that are supportive of their

      4   claims.

      5               We have lifted -- we have said -- we have requests

      6   for production that are lifted straight from their complaint,

      7   and we have nothing in response from Samsung regarding those

      8   factual allegations that they make.

      9               I want to point the Court to just a few quick

    10    examples so Your Honor can get a sense of what we're dealing

    11    with.

    12                In Samsung's Amended Objections and Responses to

    13    Defendant All Pro's First Request For Production, we asked for

    14    all communications involving Song, who is one of the

    15    Defendants, and All Pro regarding the Samsung auction

    16    process --

    17          (Feedback on phone line.)

    18                MR. MOSCOWITZ:    -- from the date the auction

    19    process --

    20                COURT REPORTER:    Excuse me.

    21                MR. MOSCOWITZ:    -- was implemented --

    22                COURT REPORTER:    Excuse me, excuse me.

    23                THE COURT:   Mr. Moscowitz, let me get you to stop

    24    and start over.    We got some feedback on the call.       I don't

    25    know why.


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Case 3:15-cv-04108-L-BN    Telephonic
                           Document 59 Status   Conference
                                         Filed 07/12/16 Page(7/5/2016)
                                                             10 of 26 PageID 793
                                                                                   10



      1                   MR. MOSCOWITZ:   Oh, okay.

      2                   THE COURT:   Could you --

      3           (Court reporter read back Page 8, Lines 13-15.)

      4                   THE COURT:   And that's where we lost you.

      5                   MR. MOSCOWITZ:   Okay.   Regarding the Samsung auction

      6    process from the date the auction process was implemented by

      7    Samsung to current.

      8                   And the response that we received basically said,

      9    "We're not going to be looking for any documents."

     10                   If we go to the answer for Request For Production

     11    No. 30, where we ask for all communications between All Pro

     12    and the employee defendants for the period of time that

     13    Plaintiff alleges the improper acts made the basis of this

     14    suit occurred, we received --

     15           (Phone ringing, cuts out voice.)

     16                   MR. MOSCOWITZ:   -- objections, and then we were

     17    promised we would have documents by June 17th that were

     18    responsive, and we got no documents that are responsive.

     19                   What we have also received, Your Honor --

     20                   UNIDENTIFIED CALLER:     Hello, hello.

     21                   MR. MOSCOWITZ:   Yes, hello.

     22                   UNIDENTIFIED CALLER:     This is Bell Nunnally &

     23    Martin, the receptionist's desk.         Can I help you?

     24                   THE COURT:   I don't think the call was intended for

     25    you.    Something must have happened with our conference call,


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Case 3:15-cv-04108-L-BN    Telephonic
                           Document 59 Status   Conference
                                         Filed 07/12/16 Page(7/5/2016)
                                                             11 of 26 PageID 794
                                                                                   11



      1    if you'd like to hang up.

      2                   UNIDENTIFIED CALLER:     All right.

      3                   MR. MOSCOWITZ:    Judge, we have asked for documents

      4    that support the basis of their claims.

      5                   And what we have received in response are threefold.

      6    One is not a single document.         Number two, an assertion that

      7    requests for documents asking them to support their claims

      8    call for legal conclusions, and they have said that they're

      9    privileged.       We don't have a proper privilege log.       And so,

     10    Your Honor, we could -- we could honestly go on and on through

     11    these requests.

     12                   I think what the Court should know is what Samsung

     13    has done thus far is, they have continually represented

     14    through their responses to discovery that they're going to be

     15    getting us documents by specific dates on a rolling

     16    production.

     17                   Number one, we believe that that's improper, but,

     18    number two --

     19          (Phone feedback and garbled voices in background.)

     20                   MR. MOSCOWITZ:    -- we still don't have the

     21    documents.       So when they say they're going to give us

     22    documents on a particular date, they give us a couple of

     23    documents that have nothing to do with the issues raised in

     24    our Motion to Compel.       So it's --

     25                   MR. LOWENSTEIN:   Your Honor and Mr. Moscowitz --


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Case 3:15-cv-04108-L-BN    Telephonic
                           Document 59 Status   Conference
                                         Filed 07/12/16 Page(7/5/2016)
                                                             12 of 26 PageID 795
                                                                                   12



      1                   MR. MOSCOWITZ:    -- our hope that any suggestions

      2    that the Court may have, but this discovery process has gone

      3    on, you know, for quite some time with very little progress

      4    from our perspective.

      5                   MR. LOWENSTEIN:   Your Honor, this is Jeff

      6    Lowenstein.       I apologize for interrupting, but we somehow got

      7    dropped off the call about four minutes ago, so I think we

      8    missed -- after the comments about the communications between

      9    Song and All Pro, we got dropped off.         So I hate to ask Mr.

     10    Moscowitz to do it one more time, but is there any way we

     11    could have Mr. Moscowitz just repeat what came after that.

     12                   THE COURT:   This is Judge Fitzwater.    You may.    He

     13    gave some examples, and I think he can give those examples

     14    again.

     15                   MR. LOWENSTEIN:   Sure.

     16                   THE COURT:   And you will pick up on it, Mr. Ansley

     17    [sic].    So go ahead, Mr. Moscowitz.

     18                   MR. MOSCOWITZ:    Thank you, Your Honor.    One of the

     19    examples that we gave would be Samsung's response to Request

     20    For Production No. 18, where we ask for communications between

     21    the Defendant Song and All Pro regarding the Samsung auction

     22    process.       All we received are objections.     And in the end,

     23    Samsung's response is, "We're just not going to look for it

     24    because it's too voluminous or it would be too burdensome."

     25                   With respect to Request For Production 30, we ask


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Case 3:15-cv-04108-L-BN    Telephonic
                           Document 59 Status   Conference
                                         Filed 07/12/16 Page(7/5/2016)
                                                             13 of 26 PageID 796
                                                                                   13



      1    for communication between All Pro and the employee defendants

      2    for a period of time that Plaintiff alleges the improper acts

      3    made the basis of this suit occurred.         We got nearly a page of

      4    objections, and then at the very end, Samsung indicated that

      5    they would be producing documents responsive to this request

      6    on June 17th and on a rolling basis thereafter.          And to date,

      7    we have not received any documents that are responsive to this

      8    request.

      9                   We have asked for numerous requests for production

     10    related to Samsung's damages that they claim they incurred.

     11    The only response that we've ever received is, "We'll

     12    supplement."       And that's it, not a single page, not a single

     13    bit of information.

     14                   We have asked for documents to support their claims

     15    and causes of action.       And, Your Honor, one of the things and

     16    primary things that Samsung has alleged is that my client, All

     17    Pro, engaged in bribes and kickbacks and sold counterfeit

     18    phones, interfered with the codefendant employees' contracts,

     19    and we have asked for very specific documents to support those

     20    causes of action.       And we have received zero, not a single

     21    one.

     22                   We have -- we have also asked -- in connection with

     23    documents, you know, the documents to support their

     24    allegations, Samsung has argued in their -- in their responses

     25    to the requests for production through their objections that,


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                                   Official Court Reporter
Case 3:15-cv-04108-L-BN    Telephonic
                           Document 59 Status   Conference
                                         Filed 07/12/16 Page(7/5/2016)
                                                             14 of 26 PageID 797
                                                                                   14



      1    when we ask for documents to support a cause of action, that

      2    that actually calls for a legal conclusion.          Alternatively,

      3    they have argued that the documents that support their various

      4    causes of action are privileged.         And we have never received a

      5    privilege log.       Nothing.

      6                   And our position has been, and continues to be, and

      7    was raised with Mr. Riemer and his associate at the meeting

      8    that we had, that if it is Samsung's contention that certain

      9    things that support their claims, such as the interviews that

     10    we know that took place of the various Defendants, not All

     11    Pro, but the other Defendants, if they're contending that

     12    those interviews are privileged, then they can't use those

     13    interviews.      They can't use any information obtained in those

     14    interviews.

     15                   And so just to kind of wrap it up, what we -- we're

     16    open to any and all suggestions.         And, like I said at the

     17    onset, we appreciate the Court taking the time to do this and

     18    to deal with this issue, but their amended responses have

     19    changed nothing with respect to our Motion to Compel except

     20    like six or seven where Samsung produced the contracts between

     21    Samsung and All Pro, documents that we already have.

     22                   And, literally, Your Honor, without exaggerating, we

     23    could go through all of these, you know, and there are

     24    instances where we have produced 1,000 pages of correspondence

     25    between us and Samsung, and when Samsung has been asked for


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                                   Official Court Reporter
Case 3:15-cv-04108-L-BN    Telephonic
                           Document 59 Status   Conference
                                         Filed 07/12/16 Page(7/5/2016)
                                                             15 of 26 PageID 798
                                                                                   15



      1    the identical type of information, they give us one or two

      2    pages, and that just doesn't make sense.          We have documents

      3    between us and various employees with Samsung that we

      4    produced, and we would expect at the very least to get those

      5    documents back in response to our requests for production, but

      6    have not.

      7                   So, Your Honor, like I said, we're more than willing

      8    to listen and work with Mr. Ansley and his team, but from our

      9    perspective, very little, if any, progress has been made on

     10    this issue since we filed our motion.

     11                   THE COURT:   All right.   Thank you, Mr. Moscowitz.

     12                   At this time, I'll hear from Samsung.

     13                   MR. LOWENSTEIN:   Your Honor, this is Jeff

     14    Lowenstein.       I'm going to take the lead.     I'm responding for

     15    Samsung.

     16                   The intent and attempt -- and, again, we also

     17    appreciate your time.       I know you're busy and taking up your

     18    evening for us, so we appreciate that.          And our goal is to try

     19    to resolve these types of issues.

     20                   Are you getting the same feedback on me that --

     21                   THE COURT:   Yes, we just started getting some

     22    feedback.

     23                   MR. LOWENSTEIN:   I'll talk slowly to try to minimize

     24    that.

     25                   MR. MOSCOWITZ:    I can hear you, but it's rough.


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Case 3:15-cv-04108-L-BN    Telephonic
                           Document 59 Status   Conference
                                         Filed 07/12/16 Page(7/5/2016)
                                                             16 of 26 PageID 799
                                                                                   16



      1                   COURT REPORTER:   Me too.    I'm the court reporter.

      2                   MR. LOWENSTEIN:   Is there somebody participating by

      3    cellphone or something that's causing this?

      4                   THE COURT:   I don't know.   This is Judge Fitzwater.

      5    That was a little better just then.

      6                   MR. LOWENSTEIN:   Okay.   I'll keep trying.    So the

      7    approach that we outlined in our response, our brief response,

      8    which was consistent with what we kind of see All Pro doing in

      9    response to our discovery, is that there are many moving parts

     10    to this case.       There's a considerable amount of discovery.

     11    It's a case involving fraud and stealing from a company that

     12    was obviously done with the intent of not letting the company

     13    figure it out.       Much of what was uncovered was through an

     14    internal investigation, and we are in the process of

     15    collecting and going through and sorting out privileged from

     16    not privileged and work product from not work product and

     17    producing it as we can.

     18                   The statements that nothing substantively relating

     19    to our claims has been provided is just not true.           The primary

     20    issue that All Pro is involved with —— and the Court may or

     21    may not be familiar with the details there —— was that All Pro

     22    was involved with the conspiracy with some of the employees

     23    and other vendors in obtaining Samsung phones or parts through

     24    an auction process that was rigged to benefit All Pro, where

     25    All Pro was leaked information and then was allowed to get


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Case 3:15-cv-04108-L-BN    Telephonic
                           Document 59 Status   Conference
                                         Filed 07/12/16 Page(7/5/2016)
                                                             17 of 26 PageID 800
                                                                                   17



      1    into this auction process with an upper hand on other vendors

      2    to undermine Samsung's ability to maximize its return on those

      3    auctions.

      4                   We have produced bidding information relating to

      5    those auctions.       We have produced information relating to the

      6    thresholds set by the internal employees in order to ensure

      7    that All Pro was one of the few that got to participate in the

      8    auctions.       We've produced internal records relating to the

      9    auctions that the employees compiled.         So there has been

     10    information that relates to the claims asserted against All

     11    Pro.

     12                   There are also a substantial amount of e-mails from

     13    the e-mails that were compiled by these people.          That is

     14    something that's going to take a process to go through because

     15    they've asked for years and years and years of e-mails that

     16    are probably in the hundreds of gigabytes, if not more, of

     17    data to go through, and that's going to cost a substantial

     18    amount of money and time for Samsung to go through.

     19                   Again, as I pointed out, this is an ongoing process

     20    where we're continuing to do the work.         We produced what we

     21    can so far and are working very hard and have many people

     22    working on it on Samsung's dime to pull together the

     23    information.

     24                   There may be a time, Your Honor, when we have

     25    information we come across that we're going to have to fight


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                                   Official Court Reporter
Case 3:15-cv-04108-L-BN    Telephonic
                           Document 59 Status   Conference
                                         Filed 07/12/16 Page(7/5/2016)
                                                             18 of 26 PageID 801
                                                                                   18



      1    about, and we are going to provide a privilege log, and it's

      2    going to outline the things that we think are privileged or

      3    work product, and there may be a dispute over that.

      4                   There may come a time where we say we've exhausted

      5    our resources and don't have anything else to produce, and

      6    we're not going to produce anything else.          We haven't said

      7    that yet about anything from what I know.          At which point, we

      8    may have a fight about that as well.

      9                   But the reason that we framed our letter brief the

     10    way we did was to say, we're not there yet.          I mean, this is a

     11    lot of information.       This case is in its early stages.      We're

     12    a long time off from, you know, expert deadlines and other

     13    things like that, and there's time for us to do this right.

     14                   I think All Pro, in going through its information,

     15    has kind of taken the same approach and said, "Either our --

     16    we're having an ongoing production and we're going to get you

     17    information," or, in some instances, said, "Refer to your own

     18    documents, Samsung; we're not going to give you ours," which

     19    we haven't really chewed up that issue yet, but I think both

     20    parties are experiencing the concept of, when you've got a lot

     21    of information and a lot of years to deal with, you have to go

     22    through it and get to it.

     23                   And so I don't want to nitpick on the examples that

     24    Mr. Moscowitz gave, but, for example, where he said in

     25    response to RP -- Request For Production 18 that we said we're


                                     Stacy Mayes Morrison
                                   Official Court Reporter
Case 3:15-cv-04108-L-BN    Telephonic
                           Document 59 Status   Conference
                                         Filed 07/12/16 Page(7/5/2016)
                                                             19 of 26 PageID 802
                                                                                   19



      1    not giving them anything or not going to do the search, that's

      2    not what the response says.        There's a whole lot more words

      3    than that in the amended response, and we've provided them a

      4    whole lot more explanation than "We're not going to do any

      5    work."

      6                   We're doing lots of work.    We're going to go through

      7    a lot of e-mails and try to figure out a way, and hopefully

      8    work with Mr. Moscowitz on search terms for that, but go

      9    through a process to get them what they want.          And if they

     10    determine after going through that that we didn't do it or

     11    we're refusing to produce things they're entitled to, then we

     12    might be back to the Court, but I hope that's not the case.

     13                   I just think that this is greatly premature.

     14    Samsung is not playing games.        Samsung is a large

     15    international company.       This is highly sensitive information

     16    where they were defrauded and stolen from by vendors and

     17    employees.       They're very sensitive about this information, so

     18    they want us to go through this process in a way where we're

     19    not just dumping information out there that competitors and

     20    employees that stole from them can just have it.

     21                   But we also, of course, want to pull together all

     22    the information that supports our claims, because, obviously,

     23    that's what we need to do to support our claims.

     24                   THE COURT:   This is Judge Fitzwater.    Let me make a

     25    couple of observations and then give Counsel an opportunity to


                                     Stacy Mayes Morrison
                                   Official Court Reporter
Case 3:15-cv-04108-L-BN    Telephonic
                           Document 59 Status   Conference
                                         Filed 07/12/16 Page(7/5/2016)
                                                             20 of 26 PageID 803
                                                                                   20



      1    be heard further.

      2                   It seems to me, from listening to Counsel and

      3    reading the submissions, that we need firm deadlines for the

      4    disclosure of discovery that is un -- where the scope and the

      5    details are uncontested.        Depositions cannot begin if Counsel

      6    are concerned that they'll have to retake a key deposition.

      7                   And then we need a process in place to resolve those

      8    issues for matters that are contested and firm deadlines for

      9    doing that.

     10                   An example of a firm deadline for discovery that's

     11    uncontested would be something where All Pro is asking Samsung

     12    to disclose documents that support allegations of the

     13    complaint.       This is not a case where Samsung is the Defendant

     14    and saying, "We are surprised that we were sued; we haven't

     15    been working on our documents."

     16                   This is a case where Samsung is the Plaintiff.       It

     17    strikes me that Samsung, even with issues of Korean

     18    translations and issues of privilege and so forth, ought to

     19    know before it ever filed the suit the documents that it

     20    believes support its claims.

     21                   So I would like to get Counsel's views about getting

     22    Counsel to give us -- to work on firm deadlines where the

     23    discovery requests are not subject to dispute and then a

     24    process for resolving those that are, again, with the idea

     25    that we're trying to do this as efficiently and as quickly as


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                                   Official Court Reporter
Case 3:15-cv-04108-L-BN    Telephonic
                           Document 59 Status   Conference
                                         Filed 07/12/16 Page(7/5/2016)
                                                             21 of 26 PageID 804
                                                                                   21



      1    possible, so that we don't end up with a lot of unnecessary

      2    cost and delay.

      3                   Mr. Moscowitz?

      4                   MR. MOSCOWITZ:    Judge, as far as the process that

      5    you've outlined, we would be agreeable to working with Mr.

      6    Ansley and the other attorneys at Bell Nunnally regarding

      7    that.

      8                   We believe that the -- you know, that there should

      9    be documents that they -- that should not be contested, and

     10    we'd be happy to try and work with them on a firm deadline to

     11    provide those documents.

     12                   And then as to the second category of requests, for

     13    those for which there is just no working it out, getting the

     14    matter set for a hearing with either Your Honor or your

     15    Magistrate Judge, and we would be more than agreeable to do

     16    that.

     17                   THE COURT:   Mr. Ansley?

     18                   MR. LOWENSTEIN:   This is Mr. Lowenstein.     That

     19    process --

     20                   THE COURT:   I'm sorry, yes.

     21                   MR. LOWENSTEIN:   The process sounds -- Mr. Ansley is

     22    dying to talk, but I'm going to keep talking over him.

     23          (Laughter.)

     24                   MR. LOWENSTEIN:   I think that process makes sense,

     25    Your Honor.


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                                   Official Court Reporter
Case 3:15-cv-04108-L-BN    Telephonic
                           Document 59 Status   Conference
                                         Filed 07/12/16 Page(7/5/2016)
                                                             22 of 26 PageID 805
                                                                                   22



      1                   THE COURT:    All right.   And did Mr. Ansley want to

      2    be heard at this time?

      3                   MR. ANSLEY:   Thank you, Your Honor.    This is Jeff

      4    Ansley.     I do agree with what Mr. Lowenstein just said.        That

      5    process, as outlined by Mr. Moscowitz, does make sense.           It's

      6    just a matter, Your Honor, I believe of identifying the timing

      7    in which we would be producing documents as the Court

      8    identified to support our claims.

      9                   MR. LOWENSTEIN:    And the other undisputed --

     10                   COURT REPORTER:    Who was that and what did you say?

     11                   MR. LOWENSTEIN:    This is Mr. Lowenstein.    The ones

     12    that support our claims and on the areas where there's no

     13    dispute as to production, which I think is what the Court

     14    outlined.

     15                   THE COURT:    Would you be in a position to report

     16    back to the Court seven days from now, next Tuesday, by

     17    something in writing.        It could be a letter that would outline

     18    how you're going to approach these categories and dates?

     19                   Mr. Moscowitz?

     20                   MR. MOSCOWITZ:    Yes, Your Honor, we would.

     21                   THE COURT:    Mr. Lowenstein?

     22                   MR. LOWENSTEIN:    Yes, Your Honor, we would.

     23                   THE COURT:    All right.   Then what I'm going to do

     24    is, I'm going to continue to defer any briefing on this

     25    motion, and I'll hear back from you through some letter or


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                                   Official Court Reporter
Case 3:15-cv-04108-L-BN    Telephonic
                           Document 59 Status   Conference
                                         Filed 07/12/16 Page(7/5/2016)
                                                             23 of 26 PageID 806
                                                                                   23



      1    alternative written filing that's due by 5:00 p.m. next

      2    Tuesday where you outline what I've identified.          And if you

      3    need to consult the record, the court reporter is available to

      4    produce that for you.

      5                   Now, let me ask if any other attorney who's

      6    participating, or we have a pro se party as well, wishes to be

      7    heard before we conclude the call.

      8                   MS. KELLOW:   Your Honor, this is Elizabeth Kellow,

      9    Counsel for Jin-Young Song, one of the employee defendants,

     10    whose name actually has come up once or twice in this

     11    argument.

     12                   We also have been -- and I'm getting some feedback.

     13    Are you as well?

     14                   THE COURT:    I am, but if you speak slowly, the court

     15    reporter can still follow you.

     16                   MS. KELLOW:   I will speak slowly.    We are also

     17    having some discovery issues as well with Plaintiff Samsung on

     18    our document requests that we raised back at -- it would have

     19    become effective at our 26(a) conference back in March.

     20                   Luckily, in light of the Court's requirement for the

     21    meet and confer, which I very much appreciate, Mr. Ansley, Mr.

     22    Riemer and I met in person in my offices last Wednesday to go

     23    through each and every one of the issues that has been a

     24    problem to date.       And, by problem, I mean similar problems to

     25    what Mr. Moscowitz described about lack of production, lack of


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                                   Official Court Reporter
Case 3:15-cv-04108-L-BN    Telephonic
                           Document 59 Status   Conference
                                         Filed 07/12/16 Page(7/5/2016)
                                                             24 of 26 PageID 807
                                                                                   24



      1    a date certain by which production would be made, and/or

      2    standing on objections to requests for what facially and I

      3    would say in actuality are clearly relevant documents.

      4                   I believe we had a very productive meeting last

      5    Wednesday with Mr. Ansley and Mr. Riemer, and it is my hope

      6    that we will be able to work through these issues, along the

      7    same lines you have outlined and suggested for Samsung's

      8    attorneys and All Pro's attorneys.         However, we had an e-mail

      9    exchange this afternoon that indicates, if we don't work

     10    through those, we will have further problems.          I expect we

     11    will be able to work through those, particularly with the

     12    Court's observations, which I find most helpful this

     13    afternoon.

     14                   So, in short, we are having some difficulties as

     15    well.    I don't think Samsung would disagree with that, but I

     16    also believe we have a hope —— and I think it's a mutual hope

     17    —— that we will be able to work through ours without having to

     18    bother the Court further, particularly if we walk kind of in

     19    lockstep with All Pro and Samsung on their respective

     20    discovery disputes.

     21                   THE COURT:   Thank you, Ms. Kellow.    This is Judge

     22    Fitzwater.

     23                   Mr. Ansley or Mr. Riemer, do you wish to be heard,

     24    or Mr. Lowenstein, in response?

     25                   MR. LOWENSTEIN:   This is Mr. Lowenstein.     The sole


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                                   Official Court Reporter
Case 3:15-cv-04108-L-BN    Telephonic
                           Document 59 Status   Conference
                                         Filed 07/12/16 Page(7/5/2016)
                                                             25 of 26 PageID 808
                                                                                   25



      1    correction, just for the record's sake, is that it was Mr.

      2    Riemer and I that were present at the meeting, not Mr. Ansley.

      3    Other than that, we are hopeful that we can work out things

      4    with Ms. Kellow as well along the same lines, and I think we

      5    did have a productive meeting with her and gotten a long way

      6    on resolving the issues that she had raised.

      7                   MS. KELLOW:    I do apologize, Mr. Lowenstein.

      8                   MR. LOWENSTEIN:      It's all right.

      9                   THE COURT:    All right.   This is Judge Fitzwater.

     10    Anyone else who wishes to be heard before we conclude the

     11    conference?

     12          (No response.)

     13                   THE COURT:    All right.   Thank you all.

     14                   MR. CHOE:    (Garbled.)    This is --

     15                   THE COURT:    I'm sorry, did someone wish to be heard?

     16                   MR. CHOE:    Yeah.   This is Jason Choe, and I'm the

     17    attorney for Yoon-Chul "Alex" Jang, and there's nothing that

     18    we would like to add at this time.

     19                   THE COURT:    All right.   Thank you.     I'm going to

     20    hang up at this time.         I'm not sure if that will keep the rest

     21    of y'all from conferring if you need to, but I'm going to hang

     22    up.

     23                   And, as I say, there will be a docket entry

     24    reflecting this, and the court reporter has made a record of

     25    the hearing or the conference.           All right.    Thank you,


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                                      Official Court Reporter
Case 3:15-cv-04108-L-BN    Telephonic
                           Document 59 Status   Conference
                                         Filed 07/12/16 Page(7/5/2016)
                                                             26 of 26 PageID 809
                                                                                   26



      1    Counsel.

      2                   MS. KELLOW:   Thank you, Your Honor.

      3                   MR. MOSCOWITZ:    Thank you, Your Honor.

      4                   MR. LOWENSTEIN:    Thank you, Your Honor.

      5                   THE COURT:    Thank you very much.       Goodbye.

      6          (End of Telephone Conference for 07/05/2016.)

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      9                                 *   *   *   *   *   *

     10

     11          I certify that the foregoing is a correct transcript from

     12    the record of proceedings in the above-entitled matter.            I

     13    further certify that the transcript fees format comply with

     14    those prescribed by the Court and the Judicial Conference of

     15    the United States.

     16

     17    s/Stacy Mayes Morrison                       7/8/2016
           Stacy Mayes Morrison                         Date
     18    Official Court Reporter

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